
USCA1 Opinion

	













        October 3, 1995         [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

                      
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        No. 95-1289 

                                    UNITED STATES,

                                      Appellee,

                                          v.

                                  MATTHEW J. ZSOFKA,

                                Defendant, Appellant.


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                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW HAMPSHIRE


                   [Hon. Joseph A. DiClerico, U.S. District Judge]
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                                        Before

                                Cyr, Boudin and Lynch,
                                   Circuit Judges.
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            Matthew J. Zsofka on brief pro se.
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            Paul M.  Gagnon, United  States Attorney,  Paul J. Andrews,  Trial
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        Attorney, U.S.  Department of  Justice,  New England  Bank Fraud  Task
        Force, and Deborah  M. Smith,  Director, New England  Bank Fraud  Task
                   _________________
        Force, on brief for appellee.


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                 Per  Curiam.   The  defendant,  Matthew  J. Zsofka,  was
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            convicted of bank fraud, false statements, and conspiracy  in

            an alleged  scheme  to  obtain  mortgages  from  a  federally

            insured bank  by falsely representing that  the borrowers had

            made  20 per cent  cash payments.   18  U.S.C.     371, 1014,

            1344.   Zsofka chose not  to appeal, although  we affirmed on

            the appeal  of a co-conspirator in United  States v. LaCroix,
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            28  F.3d  223,  225  (1st Cir.  1994),  which  describes  the

            fraudulent scheme.

                 LaCroix,  Zsofka,  and   another  co-conspirator   filed

            motions  for a new  trial, asserting  the existence  of newly

            discovered  evidence  and   the  withholding  of  exculpatory

            evidence by the government.   In the order now  appealed from

            by Zsofka, the district  judge denied the requests for  a new

            trial in a  thorough and well-reasoned 16-page  decision.  We

            affirm  on  Zsofka's  appeal substantially  for  the  reasons

            stated by the district court.

                 We decline  to consider Zsofka's argument,  made for the

            first time  on appeal,  that transcripts  from the trials  of

            other defendants support  Zsofka's request for  a new  trial.

            Issues  not argued in the district court cannot be raised for

            the first time on appeal.  United States v. Mariano, 963 F.2d
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            1150, 1158 n.9 (1st Cir. 1993).  Since this argument will not

            be considered,  we dismiss as  moot Zsofka's request  that we

            take judicial notice of the transcripts of the other trials.

                 Affirmed.
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